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          In the United States Court of Federal Claims
                                  OFFICE OF SPECIAL MASTERS
                                          No. 18-1256V
                                       Filed: July 10, 2019
                                         UNPUBLISHED


    NORMA KELLER, Personal
    Representative of the Estate of
    ELIZABETH KELLER,                                         Special Processing Unit (SPU);
                                                              Ruling on Entitlement; Concession;
                          Petitioner,                         Table Injury; Influenza (Flu) Vaccine;
    v.                                                        Guillain-Barre Syndrome (GBS)

    SECRETARY OF HEALTH AND
    HUMAN SERVICES,

                         Respondent.


Nancy Routh Meyers, Ward Black Law, Greensboro, NC, for petitioner.
Mollie Danielle Gorney, U.S. Department of Justice, Washington, DC, for respondent.

                                     RULING ON ENTITLEMENT 1

Dorsey, Chief Special Master:

       On August 21, 2018, petitioner, as personal representative of the estate of
Elizabeth Keller, filed a petition for compensation under the National Vaccine Injury
Compensation Program, 42 U.S.C. §300aa-10, et seq., 2 (the “Vaccine Act”). Petitioner
alleges that Elizabeth Keller suffered Guillain-Barre Syndrome (“GBS”) as a result of an
influenza (“flu”) vaccine administered on September 19, 2017. Petition at 1. The case
was assigned to the Special Processing Unit of the Office of Special Masters.



1The undersigned intends to post this ruling on the United States Court of Federal Claims' website. This
means the ruling will be available to anyone with access to the internet. In accordance with Vaccine
Rule 18(b), petitioner has 14 days to identify and move to redact medical or other information, the
disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, the undersigned
agrees that the identified material fits within this definition, the undersigned will redact such material from
public access. Because this unpublished ruling contains a reasoned explanation for the action in this
case, undersigned is required to post it on the United States Court of Federal Claims' website in
accordance with the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management
and Promotion of Electronic Government Services).

2   National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755.
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        On June 25, 2019, respondent filed his Rule 4(c) report in which he concedes
that petitioner is entitled to compensation in this case. Respondent’s Rule 4(c) Report
at 1. Specifically, respondent has concluded that petitioner has satisfied the criteria set
forth in the Vaccine Injury Table and the Qualifications and Aids to Interpretation. Id. at
3-4.

     In view of respondent’s position and the evidence of record, the
undersigned finds that petitioner is entitled to compensation.

IT IS SO ORDERED.

                                   s/Nora Beth Dorsey
                                   Nora Beth Dorsey
                                   Chief Special Master
